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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  MEMPHIS DIVISION

    In Re:                                                    Case No. 21-23424-MRH

    William Tagg,                                             Chapter 11

             Debtor                                           Judge M. Ruthie Hagan


RESPONSE TO OBJECTION TO CLAIM OF DEUTSCHE BANK NATIONAL TRUST
COMPANY AS TRUSTEE FOR INDYMAC INDX MORTGAGE LOAN TRUST 2007-
  AR21IP, MORTGAGE PASS-THROUGH CERTIFICATES SERIES 2007-AR21IP


COMES NOW, PHH Mortgage Corporation as Servicer for Deutsche Bank National Trust

Company as Trustee for Indymac Indx Mortgage Loan Trust 2007-AR21IP (the “Trust”),

Mortgage Pass-Through Certificates Series 2007-AR21IP, by and through the undersigned

Counsel, and hereby responds to Objection to Claim of Deutsche Bank National Trust Company

as Trustee for Indymac Indx Mortgage Loan Trust 2007-AR21IP, Mortgage Pass-Through

Certificates Series 2007-AR21IP [Docket No. 34] (the “Objection”) filed by the debtor William

Tagg (the “Debtor”) as follows:



       PHH Mortgage Corporation is in the process of obtaining information and

       documentation to resolve the objection and will supplement the claim once

       additional documentation becomes available, if necessary.



WHEREFORE, PHH Mortgage Corporation and the Trust, its subsidiaries, affiliates, predecessors

in interests, successors or assigns, requests this Court to deny the Debtor’s Motion with prejudice.
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                               Respectfully submitted,


                               /s/ Bonnie S. Culp
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                               Michael G. Clifford, TN Bar No: 028691
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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
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    In Re:                                                   Case No. 21-23424-MRH
                                                             Chapter 11
    William Tag,                                             Judge M. Ruthie Hagan
           Debtor

                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day served the foregoing and annexed pleading or paper
upon:

                                  (Served via U.S. Mail)
                                      William Tagg
                                   8191 Dogwood Road
                                  Germantown, TN 38139

                         (Served via Electronic Notification Only)
                          Ted I. Jones, Jones & Garrett Law Firm
                            2670 Union Ave. Ext., Suite 1200
                                    Memphis, TN 38104

                         (Served via Electronic Notification Only)
                                      Craig M. Geno
                           Law Offices of Craig M. Geno, PLLC
                              587 Highland Colony Parkway
                                  Ridgeland, MS 39157
                         (Served via Electronic Notification Only)
                                    Jamaal M. Walker
                            Office of the United States Trustee
                                  200 Jefferson Avenue
                                         Suite 400
                                   Memphis, TN 38103


This the 28th day of December 2021.

                                             /s/ Bonnie S. Culp
                                             Bonnie S. Culp, TN Bar No: 014741
